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                                                                UNITED STATES DISTRICT COURT
                                                               CENTRAL DISTRICT OF CALIFORNIA

                                                                CRIMINAL MINUTES - ARRAIGNMENT
Case Number: 8:19-CR-00047-JLS                                         Recorder: Court Reporter: Deborah Parker                              Date: 03/25/2019

Present: The Honorable Autumn D. Spaeth, U.S. Magistrate Judge

Court Clerk: Kristee Hopkins                                                               Assistant U.S. Attorney: Mark Takla

United States of America v.                           Attorney Present for Defendant(s)                               Language                        Interpreter
STEPHEN WILLIAM BEAL                                  Amy Karlin, DFPD
     Custody                                               Appointed



PROCEEDINGS: ARRAIGNMENT OF DEFENDANT(S) AND ASSIGNMENT OF CASE .

Defendant is arraigned and states true name is as charged.

Defendant is given a copy of the Indictment.

Defendant acknowledges receipt of a copy and waives reading thereof.

Defendant pleads not guilty to all counts in the Indictment.

This case is assigned to the calendar of District Judge Josephine L. Staton.
It is ordered that the following date(s) and time(s) are set:
         Jury Trial 5/7/2019 at 9:00 AM
         Status Conference 4/26/2019 at 8:30 AM
         Defendant and counsel are ordered to appear before said judge at the time and date indicated.

Counsel are referred to the assigned judge's trial/discovery order located on the Court's website, Judges' Procedures and Schedules.

Trial estimate: 24 days.




                                                                                                                                   First Appearance/Appointment of Counsel: 00 : 02
                                                                                                                                                                        PIA: 00 : 02
                                                                                                                                                        Initials of Deputy Clerk: kh
cc: Statistics Clerk, PSALA USMSA




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